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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW MEXICO

PROGRESSIVE DIRECT INSURANCE
COMPANY d/b/a PROGRESSIVE NORTHERN
INSURANCE COMPANY,
     Plaintiff,

v.                                           Cause No. 1:19-cv-00864 -JHR-LF

MESHA L. GERKEN,
    Defendant,

and

MESHA L. GERKEN
    Counter-Plaintiff,

v.

PROGRESSIVE DIRECT INSURANCE
COMPANY d/b/a PROGRESSIVE NORTHERN
INSURANCE COMPANY,
     Counter-Defendant,

and

MESHA L. GERKEN, BRENDAN STARKEY and
HEATHER STARKEY,
    Third-Party Plaintiffs,

v.

DOMENIC CHARLES MILES, and
PROGRESSIVE DIRECT INSURANCE
COMPANY d/b/a PROGRESSIVE NORTHERN
INSURANCE COMPANY,
     Third-Party Defendants.



            THIRD-PARTY DEFENDANT DOMENIC CHARLES MILES’
                  NOTICE OF COMPLETION OF BRIEFING
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       Third-Party Defendant DOMENIC CHARLES MILES, by and through his attorneys,

DEGRAAUW LAW FIRM, P.C. (J. Andrew deGraauw and Bryan M. Rowland), respectfully

notifies the Court that the Briefing period has expired, and Third-Plaintiffs’ have failed to

respond to Defendant DOMENIC CHARLES MILES’ Motion to                        Dismiss Third-Party

Complaint Due to Violation of the Applicable Statute of Limitations (Doc. 8) filed herein on

September 25, 2019.



                                             Respectfully submitted,
                                             DEGRAAUW LAW FIRM, P.C.


                                             By:     /s/ Bryan M. Rowland
                                                     J. Andrew deGraauw
                                                     Bryan M. Rowland
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 10, 2019, I filed the foregoing pleading electronically
through the CM/ECF, which caused all parties or counsel to be served by electronic means, as
more fully reflected on the Notice of Electronic Filing.

       I also hereby certify that on October 10, 2019 the foregoing was e-mailed to the following:


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_/s/ Bryan M. Rowland
J. Andrew deGraauw
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